Case 2:17-cv-09057-PSG-JC Document 27 Filed 09/17/18 Page 1 of 2 Page ID #:157




  1 Kara J. Rosenthal(CA Bar No. 233206).
    H. Camille Papini-Chapla ~CA Bar No. 282893)
  2 Wheeler Trigg O'Donnell LP
    370 Seventeenth Street Suite 4500
  3 Denver, CO 80202-567
    Telephone: 303.244.1800                                                      E-FILED
  4 Facsimile: 303.244.1879
    Email: rosenthal(a~wtotrial.com                                            g~P ! 7 2018
  5        papinichapla@wtotrial.com
   6 Todd C. Theodora(CA Bar No. 120426
     Brian J. Headman(CA Bar No. 284508
   7 Theodora Orin~ gher PC
     1840 Century Park East Suite 500
   8 Los Angeles, CA 9006' 2199
     Telephone: 310.557.2009
   9 Facsimile: 310.551.0238
     Email: ttheordora tocounsel.com
  10        bheadman~~tocounsel.com
  1 1 Attorney for Defendants Ulthera, Inc.
      and Merz North America, Inc.
  12
  13
  14                             UNITED STATES DISTRICT COURT

  15         CENTRAL DISTRICT OF CALIFORNIA —WESTERN DIVISION

  16
       YAZHEN ZHU,                                           Case No.: 2:17-cv-09057-PSG-JC
  17
                    Plaintiff,
  18
             vs.                                             [P   OSED]ORDER GRANTING
  19
                                                             STIPULATION TO EXTEND FACT
       ULTHERA,INC., MERZ NORTH
 20 AMERICA INC., and DOES 1-10,                             DISCOVERY DEADLINE
       inclusive.
 21
                    Defendants.
 22
 23          This matter comes before the Court on the Parties' Stipulation to Extend the
 24 Fact Discovery Deadline. The Court, having reviewed the Stipulation and the record
 25 in this matter, and for good cause shown, hereby GRANTS the stipulation. The fact
 26 discovery cut-off deadline is now set for December 6, 2018.
 27 //
 28 //
                                                         i    4
                            ORDER GRANTING STIPULATION TO EXTEND FACT DISCOVERY DEADLINE
                                         CASE NO.: 2:17-cv-09057-PSG-JC
Case 2:17-cv-09057-PSG-JC Document 27 Filed 09/17/18 Page 2 of 2 Page ID #:158




                                                                  ~e
